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                            UNITED STATES DISTRICT COURT
                            OF THE DISTRICT OF COLUMBIA

 CARL BARNES, et al.,

                   Plaintiffs,
                                                      Civil Action No:      06-0315 (RCL)
 v.

 THE DISTRICT OF COLUMBIA,

                  Defendant.

JOINT MOTION FOR PRELIMINARY ORDER OF APPROVAL AND SETTLEMENT

       Pursuant to Fed. R. Civ. P. 7(b) and 23(e), the Parties hereby jointly move the Court for a

preliminary order of approval and settlement. The Parties’ Memorandum of Points and

Authorities in support hereof is attached hereto and incorporated by reference herein. A proposed

Order also is attached hereto, as is the Parties’ Settlement Agreement.

       WHEREFORE, the Parties respectfully request that this Honorable Court grant the

Parties’ Joint Motion for Preliminary Order of Approval and Settlement.


DATE: November 4, 2013                Respectfully submitted,

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